           Case 8:21-cv-00722-GJH Document 17 Filed 04/08/22 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  Southern Division
                                          *

JAMES CURTIS, et al.,                            *
    Plaintiffs,
                                                 *
v.                                                          Case No.: GJH-21-722
                                                 *
GENESIS ENGINEERING SOLUTIONS,
INC.,                                            *
      Defendant.
                                                 *
*      *       *       *       *      *      *       *      *       *      *       *      *

                                            ORDER

       In accordance with the foregoing Memorandum Opinion, it is hereby ORDERED, by the

United States District Court for the District of Maryland, that the consent Motion for Preliminary

Approval of the Settlement Agreement, ECF No. 13, is GRANTED, and thus:

           1. The Court preliminarily certifies both the Rule 23 class and the Section 216(b)

              collective;

           2. The Court preliminarily approves the Settlement Agreement under both Rule 23

              and the FLSA;

           3. The Court preliminarily approves Plaintiff James Curtis as the representative of the

              Rule 23 class and the Section 216(b) collective;

           4. The Court preliminarily approves Goodley McCarthy LLC and Goodley Law LLC

              as Class Counsel for the Rule 23 class and the FLSA class;

           5. The Court preliminarily approves RG2 Claims Administration as Settlement

              Administrator;
        Case 8:21-cv-00722-GJH Document 17 Filed 04/08/22 Page 2 of 2



         6. The Court preliminarily approves the Settlement Administrator’s costs of claims

               administration, in an amount not to exceed Six Thousand Dollars ($6,000);

         7. Plaintiff is authorized to mail the proposed Settlement Notices to putative class and

               collective members; and

         8. The Court gives approval to the following schedule:

                    a. On or before seven (7) calendar days after the date the Court enters this

                          Order, Defendant will transfer to the Administrator a payment in the

                          amount of $100,000, plus the amount necessary to cover any payroll

                          taxes/withholdings borne by employers.

                    b. On or before thirty (30) days after the Court enters this Order, the

                          Administrator will mail to each Settlement Class member a package

                          containing the applicable Notice;

                    c. The deadline for Settlement Class members to object or request exclusion

                          from the Settlement Class shall be forty-five (45) days after the

                          Administrator mails the Notices;

                    d. Class Counsel shall file the Motion for Final Approval of Class Action

                          Settlement, with supporting documentation, no later than fourteen (14)

                          days before the Final Approval Hearing;

                    e. The parties shall contact chambers to schedule a date for the Final

                          Approval Hearing.



Dated: April    8, 2022                                        /s/
                                                               GEORGE J. HAZEL
                                                               United States District Judge
